Case 2:20-cv-11181-CAS-JPR Document 96-8 Filed 10/27/22 Page 1 of 5 Page ID #:1776




                               EXHIBIT 7
Case 2:20-cv-11181-CAS-JPR Document 96-8 Filed 10/27/22 Page 2 of 5 Page ID #:1777
Case 2:20-cv-11181-CAS-JPR Document 96-8 Filed 10/27/22 Page 3 of 5 Page ID #:1778
Case 2:20-cv-11181-CAS-JPR Document 96-8 Filed 10/27/22 Page 4 of 5 Page ID #:1779
Case 2:20-cv-11181-CAS-JPR Document 96-8 Filed 10/27/22 Page 5 of 5 Page ID #:1780
